                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:13-cr-133-HSM-SKL
                                                       )
 v.                                                    )
                                                       )
 BRANDON HARRIS                                        )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the nine count

 Indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute twenty-eight (28) grams or more of a mixture and substance

 containing a detectable amount of cocaine base (“crack”), a Schedule II controlled substance, in

 violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser

 included offense of the charge in Count One, that is of conspiracy to distribute twenty-eight (28)

 grams or more of a mixture and substance containing a detectable amount of cocaine base (“crack”),

 a Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B); (4)

 defer a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant

 shall remain in custody until sentencing in this matter [Doc. 164]. Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation [Doc. 164] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment




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             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to distribute twenty-eight (28) grams or more of a mixture and

             substance containing a detectable amount of cocaine base (“crack”), a Schedule II

             controlled substance, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B) is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to distribute twenty-eight (28) grams or more of

             a mixture and substance containing a detectable amount of cocaine base (“crack”),

             a Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1) &

             841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, June 23, 2014 at 9:00 a.m. [EASTERN]

             before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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